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9
                              UNITED STATES DISTRICT COURT
10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
11
12    YUROK TRIBE, on its own behalf and            )
13    on behalf of its members, and                 )
                                                    )
14    Plaintiffs,                                   )
                                                    )   Case No. 3:20-cv-05891-WHO
15
              v.                                    )
16                                                  )   Related Case: No. 3:19-cv-04405-WHO
      U.S. BUREAU OF RECLAMATION,                   )
17                                                  )   JOINT STATUS REPORT AND
                                                    )   STIPULATION TO CONTINUE STAY OF
18    Defendant.
                                                    )   LITIGATION AND BRIEFING
19                                                  )   SCHEDULE
                                                    )
20                                                  )   Judge: Hon. William H. Orrick
21                                                  )
                                                    )
22                                                  )
                                                    )
23
24          Pursuant to the Court’s Order, dated November 9, 2021 (ECF No. 29), Plaintiff Yurok
25   Tribe and Defendant U.S. Bureau of Reclamation (“Bureau”), hereby submit this Joint Status
26   Report and Stipulation to Continue Stay of Litigation and Briefing. During the extension of the
27   previous stay granted by the Court, the parties continued to discuss Plaintiff’s April 1, 2021
28   settlement proposal and the Bureau’s written response to that proposal. The parties desire to


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1    continue these settlement discussions in the hopes of reaching an agreement that would resolve
2    these proceedings without further litigation and stipulate to a further stay of the litigation until
3    September 30, 2022 in the above-captioned case. During the stay, the parties stipulate to
4    continue the suspension of the briefing schedule on the Bureau’s pending motion to dismiss
5    (ECF 16), filed December 11, 2020, to allow the parties to continue settlement discussions.
6    This would be the fifth extension of the stay of this case since the original stay was entered on
7    January 19, 2021 (ECF 19). The Parties will submit to the Court either an amended briefing
8    schedule or a status report on the status of their negotiations by September 30, 2022.
9           IT IS SO STIPULATED
10          Dated: March 25, 2022
11
                                                    Respectfully submitted,
12
13                                                  /s/ Amy Cordalis (permission on 03/25/22)
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15
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26                                                  Attorneys for Defendant U.S. Bureau of
27                                                  Reclamation

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1           PURSUANT TO STIPULATION, IT IS
2
     SO ORDERED Dated: March 30, 2022
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5
                                                  William H. Orrick,
6                                                 United States District Court Judge

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